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Nicholas B. Clifford, Jr.

From:                                 Julie A. Sullivan
Sent:                                 Friday, May 18, 2018 9:19 AM
To:                                   Nicholas B. Clifford, Jr.
Subject:                              FW: 35869-3 - IP - Echelon Pty., Ltd.


FYI – please advise.




Armstrong Teasdale LLP
Julie A. Sullivan | Intellectual Property Litigation Specialist
314.621.5070 ext. 7435 | FAX: 314.621.5065

From: Carolina E. Mejia [mailto:MejiaC@CivilActionGroup.com]
Sent: Friday, May 18, 2018 9:13 AM
To: Julie A. Sullivan
Subject: 35869-3 - IP - Echelon Pty., Ltd.

Hi Julie,

Latest Status: 5/17/2018 3:28 pm Attempted Service. PER FRONT DESK / ON THE FIRST FLOOR / TITLES 'WEWORK
HOLLYWOOD' / THEY ARE AWARE OF ALL BUSINESSES LOCATED IN THIS BUILDING BUT THEY WILL NOT VERIFY IF
SUBJECT IS LOCATED IN THE BUILDING. (PLS ADVISE HOW YOU WANT TO PROCEED. THERE IS A CHECK AND I WAS NOT
COMFORTABLE LEAVING THE DOCUMENTS)
(excuse the caps please, it came that way from server)
Thanks,

Carolina E. Mejia




Civil Action Group, Ltd.
APS International Plaza
7800 Glenroy Road
Minneapolis, MN 55439-3122
Email: MejiaC@civilactiongroup.com
Direct: 952-831-7776 x330
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